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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,
VS. NO. O4~20498-Ma
RONALD JONES,

Defendant.

 

CORRECTING ORDER

 

The Court entered an order on August 1, 2005, resetting
a hearing on supervised release violation. The order is hereby
corrected to show that the hearing to be reset is on defendant
Ronald Jones’s motion to suppress. Defendant’s motion to
suppress is RESET to Thursday, September 1, 2005, at 9:30 a.m.

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lt is so ORDERED this day of August, 2005.

M///VL_.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITTED ST ATES DISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20498 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

